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  6                                                                BY mccall     DEPUTY CLERK
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 11
 12                           UNITED STATES BANKRUPTCY COURT
 13              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 14
 15   In re:                                           Case No. 8:21-bk-11710-ES
 16   JAMIE LYNN GALLIAN,
                                                       Chapter 7
 17                                                    Adv. No. 8:21-ap-01095-ES
                    Debtor.
 18
                                                       ORDER GRANTING MOTION TO
 19                                                    CONTINUE PRE-TRIAL
                                                       CONFERENCE AND OTHER DATES
 20
 21                                                    Current Pre-Trial Conference
      THE HUNTINGTON BEACH GABLES
 22   HOMEOWNERS ASSOCIATION, a California             Hearing Date: July 14, 2022
      nonprofit mutual benefit corporation,            Time:          9:30 a.m.
 23                 Plaintiff,                         Courtroom: 5A

 24   vs.                                              New Pre-Trial Conference
      JAMIE L GALLIAN, an individual; RANDALL          Hearing Date: September 22, 2022
 25   L NICKEL, an individual, and DOES 1 through      Time:          10:00 a.m.
      100, inclusive,                                  Courtroom:     5A
 26
                    Defendants.
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 30                                                1
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  1           Plaintiff, The Huntington Beach Gables Homeowners Association (“Plaintiff”), filed its
  2   Motion to Continue Pre-Trial Conference and Other Dates (“Motion”) on July 8, 2022 as Docket
  3   No. 49, having been considered, finding that notice was proper, and for good cause showing,
  4           IT IS ORDERED:

  5           1.     The Motion is granted; and
  6           2.     The Pre-Trial Conference is continued to September 22, 2022 at 10:00 a.m. in
  7                  Courtroom 5A of the United States Bankruptcy Court located at 411 West Fourth
  8                  Street, Santa Ana, CA 92701.
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 24 Date: July 8, 2022
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